Petition for writ of mandate directed to respondent commanding it to dismiss a certain action pending before it because of the alleged failure to file a good and sufficient bond under the provisions of section 1036 of the Code of Civil Procedure.
We are satisfied that the court below was empowered, under the provisions of section 1054 of the Code of Civil Procedure, to extend the time in which the bond in question might be filed; and we think, upon the authority of Sciutti v. PacificCoal Co., 30 Utah, 462, [8 Ann. Cas. 942, 85 P. 1011], and the case of Kissler v. Budge, 24 Idaho, 246, [133 P. 125], the court was within the law when it refused to dismiss the cause after a good and sufficient bond had been filed. For that reason the writ is dismissed.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on December 20, 1917. *Page 84 